Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 1 of 33 Page ID #:1




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  7
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  8 ZF TRW AUTOMOTIVE HOLDINGS CORP.
  9
 10                                  UNITED STATES DISTRICT COURT
 11            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 12
 13 IGOR SHABANETS,                                     CASE NO. 8:20-cv-02182
 14                         Plaintiff,                  NOTICE OF REMOVAL OF
                                                        ACTION UNDER 28 U.S.C.
 15             vs.                                     SECTION 1441(b) (DIVERSITY)
 16 ZF TRW AUTOMOTIVE HOLDINGS                          DEMAND FOR JURY TRIAL
    CORPS., a Delaware Corporation,
 17 VOLKSWAGEN GROUP, and DOES
    1 - 20, inclusive,
 18
                  Defendants.
 19
 20
 21             TO THE COURT, ALL PARTIES, AND THEIR RESPECTIVE
 22 ATTORNEYS OF RECORD:
 23             PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and
 24 1446, Defendant ZF TRW AUTOMOTIVE HOLDINGS CORP. (“ZF TRW AH”)
 25 hereby removes the state court action entitled Igor Shabanets, Plaintiff vs. ZF TRW
 26 Automotive Holdings Corp., Volkswagen Group, and Does 1 - 20, Defendants, case
 27 number 30-2020-01152238-CU-PL-CJC, from the Superior Court of the State of
 28 California for the County of Orange to the United States District Court for the
      2140792.1 / 284-002
                    NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
                                                                                                                                                 Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 2 of 33 Page ID #:2




                                                                                                                                                             1 Central District of California. Removal is warranted under 28 U.S.C. § 1441(b)
                                                                                                                                                             2 because this is a diversity action over which this Court has original jurisdiction
                                                                                                                                                             3 under 28 U.S.C. § 1332. As grounds for this removal, ZF TRW AH submits the
                                                                                                                                                             4 following:
                                                                                                                                                             5             1.          On July 30, 2020, Plaintiff IGOR SHABANETS (“Plaintiff”) filed an
                                                                                                                                                             6 action in the Superior Court of the State of California for the County of Orange,
                                                                                                                                                             7 bearing case number 30-2020-01152238-CU-PL-CJC, against ZF TRW AH,
                                                                                                                                                             8 Volkswagen Group, and DOES 1 through 20. See Ex. 1, Complaint, pg. 2.
                                                                                                                                                             9             2.          This action arises from a motor vehicle incident on July 31, 2018.
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR




                                                                                                                                                            10 Plaintiff alleges he was injured by the airbag installed in a 2016 Lamborghini
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 Aventador, bearing vehicle identification number ZHWUC1ZD0HLA05711 (the
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                                                                                                      Telephone (213) 362-7777




                                                                                                                                                            12 “Subject Vehicle”).1 Id. at pg. 5.
                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                            13             3.          The Complaint asserts the following causes of action and claims for
                                                                                                                                                            14 relief: (1) strict liability; (2) negligence; and (3) breach of express and implied
                                                                                                                                                            15 warranties. Id.
                                                                                                                                                            16             4.          ZF TRW AH has not yet answered or responded to the Complaint.
                                                                                                                                                            17             5.          In the Complaint, Plaintiff variously identifies “Volkswagen Group”
                                                                                                                                                            18 and “Volkswagen Group of America, a New Jersey Corp.” as a defendant. Id. at
                                                                                                                                                            19 pgs. 2-3, 5. “Volkswagen Group” and “Volkswagen Group of America” do not
                                                                                                                                                            20 appear to be legal entities. Although not specifically named in the Complaint,
                                                                                                                                                            21 Volkswagen Group of America, Inc. is a legal entity. “Volkswagen Group,”
                                                                                                                                                            22 “Volkswagen Group of America” and Volkswagen Group of America, Inc. have not
                                                                                                                                                            23 been served with the Summons and Complaint.
                                                                                                                                                            24             6.          As set forth more fully below, this case is properly removed to this
                                                                                                                                                            25 Court under 28 U.S.C. § 1441 because this Court has subject matter jurisdiction over
                                                                                                                                                            26
                                                                                                                                                                 1
                                                                                                                                                            27  The vehicle identification number for the Subject Vehicle supplied in the
                                                                                                                                                               Complaint – ZHWUC1ZD0HLA05711 – appears to be for a 2017 Lamborghini
                                                                                                                                                            28 Aventador, not a 2016.
                                                                                                                                                                 2140792.1 / 284-002
                                                                                                                                                                                                                    2
                                                                                                                                                                                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
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                                                                                                                                                             1 this action pursuant to 28 U.S.C. § 1332, and the removing defendant, ZF TRW AH,
                                                                                                                                                             2 has satisfied the procedural requirements for removal.
                                                                                                                                                             3 I.          REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT
                                                                                                                                                             4             MATTER JURISDICTION UNDER 28 U.S.C. §§ 1332 AND 1441(B)
                                                                                                                                                             5             7.          This Court has subject matter jurisdiction under 28 U.S.C. §§ 1332 and
                                                                                                                                                             6 1441(b) because this is a civil action between citizens of different states, and the
                                                                                                                                                             7 amount in controversy exceeds $75,000.00, exclusive of costs and interest.
                                                                                                                                                             8             A.          Complete Diversity of Citizenship
                                                                                                                                                             9             8.          Plaintiff is, and at the time he commenced this action and filed suit was,
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                                                                                                                                                            10 a citizen of the State of California, and a resident of Orange County, California. See
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 Ex. 1, Order on Court Fee Waiver, pg. 13.
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                                                                                                                                                            12             9.          ZF TRW AH is, and at the time Plaintiff commenced this action and
                                                                                                                                                            13 filed suit was, a corporation organized under the laws of the State of Delaware with
                                                                                                                                                            14 its principal place of business in Livonia, Michigan, and therefore, is a citizen of the
                                                                                                                                                            15 states of Delaware and Michigan for purposes of determining diversity. See 28
                                                                                                                                                            16 U.S.C. § 1332(c)(1).
                                                                                                                                                            17             10.         “Volkswagen Group” and “Volkswagen Group of America” do not
                                                                                                                                                            18 appear to be legal entities. Volkswagen Group of America, Inc. is, and at the time
                                                                                                                                                            19 Plaintiff commenced this action and filed suit was, a corporation organized under
                                                                                                                                                            20 the laws of the State of New Jersey with its principal place of business in Herndon,
                                                                                                                                                            21 Virginia, and therefore, is a citizen of the states of New Jersey and Virginia for
                                                                                                                                                            22 purposes of determining diversity. See 28 U.S.C. § 1332(c)(1).
                                                                                                                                                            23             11.         Defendant DOES 1 through 20 are fictitious names whose citizenship
                                                                                                                                                            24 “shall be disregarded” for purposes of removal under 28 U.S.C. § 1441 et seq.
                                                                                                                                                            25             12.         Therefore, there is complete diversity of citizenship because Plaintiff is
                                                                                                                                                            26 a citizen of California, and the defendants, ZF TRW AH and Volkswagen Group of
                                                                                                                                                            27 America, Inc., are not citizens of the State of California.
                                                                                                                                                            28 / / /
                                                                                                                                                                 2140792.1 / 284-002
                                                                                                                                                                                                                     3
                                                                                                                                                                                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
                                                                                                                                                 Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 4 of 33 Page ID #:4




                                                                                                                                                             1             B.          Amount in Controversy
                                                                                                                                                             2             13.         Plaintiff alleges he was injured by the airbag in the Subject Vehicle and
                                                                                                                                                             3 claims damages for wage loss, loss of use of property, hospital and medical
                                                                                                                                                             4 expenses, general damage, property damage, loss of consortium, and punitive
                                                                                                                                                             5 damages. See Ex. 1, Complaint, pgs. 4-5. For the “Jurisdiction” section in the
                                                                                                                                                             6 Complaint, Plaintiff identified the lawsuit as an “unlimited civil case (exceeds
                                                                                                                                                             7 $25,000.00).” Id. at pg. 2.
                                                                                                                                                             8             14.         It is facially apparent from these allegations of the nature and extent of
                                                                                                                                                             9 Plaintiff’s injuries, the value of the Subject Vehicle,2 the product liability causes of
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                                                                                                                                                            10 action alleged, and the relief Plaintiff seeks (including punitive damages, wage loss,
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 loss of use of property, hospital and medical expenses, general damage, property
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                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                            12 damage, and loss of consortium) that the amount in controversy exceeds the sum of
                                                                                                                                                            13 $75,000.00.
                                                                                                                                                            14             15.         Where no amount is pleaded, the Court looks to the “facially apparent”
                                                                                                                                                            15 allegations in the Complaint to assess the amount in controversy. See Luckett v.
                                                                                                                                                            16 Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999) (finding it “facially apparent”
                                                                                                                                                            17 from the Complaint that the amount in controversy is satisfied because “based on a
                                                                                                                                                            18 tort theory of recovery, appellant alleged damages for property, travel expenses, an
                                                                                                                                                            19 emergency ambulance trip, a six day stay in the hospital, pain and suffering,
                                                                                                                                                            20 humiliation, and her temporary inability to do housework after the hospitalization.”);
                                                                                                                                                            21 White v. FCI USA, Inc., 319 F.3d 672, 675 (5th Cir. 2003) (In a wrongful termination
                                                                                                                                                            22 action, “The district court concluded it was ‘more probable than not’ that the lengthy
                                                                                                                                                            23 list of compensatory and punitive damages sought by [plaintiff], when combined
                                                                                                                                                            24 with attorney’s fees, would exceed $75,000.”). “The amount in controversy is
                                                                                                                                                            25 simply an estimate of the total amount in dispute, not a prospective assessment of
                                                                                                                                                            26
                                                                                                                                                            27
                                                                                                                                                                 2
                                                                                                                                                                According to the CarFax report for the Subject Vehicle, the pre-accident market
                                                                                                                                                            28 value of the vehicle is $317,140.00. See Ex. 2, CarFax Report, pg. 21.
                                                                                                                                                                 2140792.1 / 284-002
                                                                                                                                                                                                                     4
                                                                                                                                                                               NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
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                                                                                                                                                             1 defendant’s liability.” Lewis v. Verizon Communications, Inc., 627 F.3d 395, 400
                                                                                                                                                             2 (9th Cir. 2010); see McPhail v. Deere & Co., 529 F.3d 947, 956 (10th Cir. 2008)
                                                                                                                                                             3 (“The amount in controversy is not proof of the amount the plaintiff will recover.
                                                                                                                                                             4 Rather, it is an estimate of the amount that will be put at issue in the course of the
                                                                                                                                                             5 litigation.”).
                                                                                                                                                             6             16.         Here, Plaintiff pleads causes of action for strict products liability,
                                                                                                                                                             7 negligence, and breach of warranty, and is claiming compensatory damages for
                                                                                                                                                             8 personal injury, property damages, and general damages arising from a motor
                                                                                                                                                             9 vehicle accident. See Luckett, 171 F.3d at 298. Plaintiff also seeks punitive
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                                                                                                                                                            10 damages. Therefore, on the face of the Complaint, the amount in controversy
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 exceeds the $75,000.00 jurisdictional threshold for diversity jurisdiction. See 28
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                                                                                                                                                            12 U.S.C. § 1332.
                                                                                                                                                            13 II.         REMOVING DEFENDANT HAS SATISFIED THE PROCEDURAL
                                                                                                                                                            14             REQUIREMENTS FOR REMOVAL
                                                                                                                                                            15             17.         On October 14, 2020, ZF TRW AH was personally served with the
                                                                                                                                                            16 Summons and Complaint through its agent for service of process in Michigan.
                                                                                                                                                            17             18.         Accordingly, this Notice of Removal is timely filed under 28 U.S.C. §
                                                                                                                                                            18 1446(b) because it was filed within thirty days after ZF TRW AH accepted service
                                                                                                                                                            19 of process on October 14, 2020. Further, not more than one year has commenced
                                                                                                                                                            20 since this lawsuit was filed on July 30, 2020. See 28 U.S.C. § 1446(c)(1).
                                                                                                                                                            21             19.         The Superior Court of the State of California for the County of Orange
                                                                                                                                                            22 is located within the Central District of California. See 28 U.S.C. § 1441(a).
                                                                                                                                                            23             20.         The removing defendant is not a citizen of the State of California, the
                                                                                                                                                            24 State where this action was brought. See 28 U.S.C. § 1441(b).
                                                                                                                                                            25             21.         Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and
                                                                                                                                                            26 orders served upon the removing defendant are attached hereto as Exhibit 1.
                                                                                                                                                            27             22.         Consent to removal is not required from Volkswagen Group of
                                                                                                                                                            28 America, Inc. pursuant to 28 U.S.C. § 1446(b)(2)(A) because it has not been
                                                                                                                                                                 2140792.1 / 284-002
                                                                                                                                                                                                                      5
                                                                                                                                                                               NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
                                                                                                                                                 Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 6 of 33 Page ID #:6




                                                                                                                                                             1 properly joined and served. Consent to removal is not required from “Volkswagen
                                                                                                                                                             2 Group” or “Volkswagen Group of America, a New Jersey Corp.” because neither
                                                                                                                                                             3 have been properly joined and served and do not appear to be valid legal entities.
                                                                                                                                                             4             23.         Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
                                                                                                                                                             5 being served upon counsel for Plaintiff and a copy is being filed with the Clerk of
                                                                                                                                                             6 the Superior Court of the State of California for the County of Orange.
                                                                                                                                                             7             WHEREFORE, Defendant ZF TRW AUTOMOTIVE HOLDINGS CORP.
                                                                                                                                                             8 respectfully removes this action from the Superior Court of the State of California
                                                                                                                                                             9 for the County of Orange, bearing case number 30-2020-01152238-CU-PL-CJC, to
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR




                                                                                                                                                            10 the above-entitled Court.
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11
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                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                            12 DATED: November 13, 2020                      YUKEVICH | CAVANAUGH
                                                                                                                                                            13
                                                                                                                                                            14
                                                                                                                                                                                                             By:          /s/ Jeffrey W. Caligiuri
                                                                                                                                                            15
                                                                                                                                                                                                                   James J. Yukevich
                                                                                                                                                            16                                                     Cristina M. Ciminelli
                                                                                                                                                            17                                                     Jeffrey W. Caligiuri
                                                                                                                                                                                                                   Attorneys for Defendant
                                                                                                                                                            18                                                     ZF TRW AUTOMOTIVE HOLDINGS
                                                                                                                                                            19                                                     CORP.

                                                                                                                                                            20
                                                                                                                                                            21
                                                                                                                                                            22
                                                                                                                                                            23
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                                                                                                                                                                               NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
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                        EXHIBIT 1
       CaseElectronically
             8:20-cv-02182-CJC-DFM            Document
                          Filed by Superior Court           1 Filed
                                                  of California, County11/13/20    Page 8 of 10:38:00
                                                                        of Orange, 08/19/2020 33 Page PM.ID #:8
   30-2020-01152238-CU-PL-CJC - ROA # 12 - DAVID H. YAMASAKI, Clerk of the Court By e Clerk, Deputy Clerk.


                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):
ZF TRW Automotive Holdings Corp. and Volkswagen Group
DOES 1 TO 20
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
Igor Shabanets
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (wvvw.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courlinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
i A V/SO! Lo han demandado. Si no responde dentro de 30 dias, la corle puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
continuaci6n.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y pape/es /ega/es para presentar una respuesta por escrito en esta
corle y hacer que se entregue una copia al demandante. Una carla o una llamada te/ef6nica no lo protegen. Su respuesta por escrito tiene que estar
en Formato legal correcto si desea que procesen su caso en la corle. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corle y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de /eyes de su condado o en la corle que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corle que
le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corle le podra
quitar su sue/do, dinero y bienes sin mas adverlencia.
    Hay otros requisitos legales. Es recomendable que flame a un abogado inmediatamente. Si no conoce a un abogado, puede llama, a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios legates gratuitos de un
programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorle.ca.gov) o poniendose en contacto con la corle o el
co/egio de abogados locales. AVISO: Por fey, la corle tiene derecho a rec/amar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar et gravamen de la corle antes de que la corle pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Numero de/ Caso):
(El nombre y direcci6n de la cone es):
700 Civic Center Driver West, Santa Ana, CA 92701
Central Justice Center
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de telefono de/ abogado de/ demandante, o def demandante que no tiene abogado, es):
               Bruce A. Boice, Esq., SBN: 249296, Law Office of Boice & Associates, 307 E. Chapman Ave.,
               Suite #102, Orange,CA 92866 TEL: 949-690-8647
DATE:                                                                         Clerk, by                                                             , Deputy
(Fecha)                                                                       (Secretario)                                                          (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citation use el formu/ario Proof of Service of Summons, (POS-010).)
  [SEAL]
                                  NOTICE TO THE PERSON SERVED: You are served
                                     1.   D as an individual defendant.
                                     2.   D as the person sued under the fictitious name of (specify):
                                     3.   D on behalf of (specify):
                                          under: D CCP 416.10 (corporation)                    D CCP 416.60 (minor)
                                                 D CCP 416.20 (defunct corporation)            D CCP 416.70 (conservatee)
                                                 D CCP 416.40 (association or partnership) CJ CCP 416.90 (authorized person)
                                                 D other (specify).·
                                     4.   D by personal delivery on (date)                                                                              Pane 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                      SUMMONS                                                Code of Civil Procedure§§ 412.20. 465
                                                                                                                                                 ww�•1_courts.ca.gov
SUM-100    IRev. July 1, 2009]


                                                                                                               Exhibit 1 - Page 001
       CaseElectronically
             8:20-cv-02182-CJC-DFM            Document
                          Filed by Superior Court           1 Filed
                                                  of California, County11/13/20    Page 9 of 02:06:10
                                                                        of Orange, 07/30/2020 33 Page PM.ID #:9
30-2020-01152238-CU-PL-CJC - ROA # 2 - DAVID H. YAMASAKI, Clerk of the Court By Amy Van Arkel, Deputy Clerk.




                                                                          Assigned for all purposes to:




                                                                                Exhibit 1 - Page 002
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 10 of 33 Page ID #:10

                                                                                                                                    PLD-PI-001
  SHORT TITLE:                                                                                         CASE NUMBER:
   Igor Shabanets vs ZF TRW Automotive Holdings Corp. and Volkswagen Group

 4. |       l Plaintiff (name):
              is doing business under the fictitious name (specify):

          and has complied with the fictitious business name laws.
 5. Each defendant named above is a natural person
   a. | x | except defendant (name):^ TRW Automotive Holdings Corpc            |      |    except defendant fnamej:
             (1) |   1 a business organization, form unknown                       (1)    |   l a business organization, form unknown
             (2) 1 x | a corporation                                               (2)    l   l a corporation
             (3) |   [ an unincorporated entity (describe):                        (3)    |   l an unincorporated entity (describe):

             (4) |       l a public entity (describe):                             (4) l      | a public entity (describe):

             (5) l       I other (specify):                                        (5) |      | other Cspec/fyj;




    b. | x | except defendant fnamej: Volkswagen Group                      d. I      | except defendant (hamej:
             (1) [   | a business organization, form unknown                       (1) |      l a business organization, form unknown
             (2) 1 x | a corporation                                               (2) |      | a corporation
             (3) |   | an unincorporated entity (describe):                        (3) |      l an unincorporated entity (describe):

             (4) |       | a public entity (describe):                             (4) I      1 a public entity (describe):

             (5) I       I other fspec/Tyj;                                        (5) |      | other (spec/fyj;

   j '] Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
     a. | x | Doe defendants (specify Doe numbers): 1-10                                were the agents or employees of other
               named defendants and acted within the scope of that agency or employment.
     b. | x | Doe defendants (specify Doe numbers): 11-20                              are persons whose capacities are unknown to
               plaintiff.
7. |     | Defendants who are joined under Code of Civil Procedure section 382 are (names):




8. This court is the proper court because
   a. I    | at least one defendant now resides in its jurisdictional area.
   b. |   | the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
   c. | x | injury to person or damage to personal property occurred in its jurisdictional area.
   d. |   | other ('spec/fyj:




9. I    I Plaintiff is required to comply with a claims statute, and
   a. |    | has complied with applicable claims statutes, or
   b. |    | is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2007]                        COMPLAINT—Personal Injury, Property                                            Page 2 of 3
                                                              Damage, Wrongful Death


                                                                                                              Exhibit 1 - Page 003
                Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 11 of 33 Page ID #:11


                                                                                                                                        PLD-PI-001
  SHORT TITLE:                                                                                       CASE NUMBER:
   Igor Shabanets vs ZF TRW Automotive Holdings Corp. and Volkswagen Group

 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
 a. | x | Motor Vehicle
 b.                 General Negligence
 c. |             | Intentional Tort
 d. | x l Products Liability
 e. |             | Premises Liability
 f.         |     | other (specify):




 11. Plaintiff has suffered
 a. | x | wage loss
 b. | x | loss of use of property
 c. 1 x | hospital and medical expenses
 d. 1 x | general damage
e. | x | property damage
f.      |        | loss of earning capacity
g. | x | other damage (specify):

                   Loss of consortium


 12. |           | The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
        a. |         l listed in Attachment 12.
        b. |         | as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.




14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1)1 x | compensatory damages
                 (2) 1 x | punitive damages
                  The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
                 (1) | x | according to proof
                 (2) |    | in the amount of: $
15. |            [The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):



Date: 7/30/2020                                                                                                                 /
Igor Shabanets
                                (TYPE OR PRINT NAME)
                                                                                               ►   ^?(y   (SIGNATURE OF PLAINTIFF OR ATTORNEY)
PLD-PI-001 [Rev. January 1,2007]                       COMPLAINT—Personal Injury, Property
                                                                                                                                            Page 3 of 3
                                                            Damage, Wrongful Death




                                                                                                           Exhibit 1 - Page 004
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 12 of 33 Page ID #:12

                                                                                                                                         PLD-PI-001(5;
  SHORT TITLE:                                                                                          CASE NUMBER:

   Igor Shabanets vs ZF TRW Automotive Holdings Corp. al al.

            FIRST                                  CAUSE OF ACTION—Products Liability                                         Page              4
                           (number)
           ATTACHMENT TO I y I Complaint l               I Cross - Complaint
           (Use a separate cause of action form for each cause of action.)
            Plaintiff (name): Igor Shabanets

            Prod. L-1. On or about (date): 07/31/2018           plaintiff was injured by the following product:
            ZF TRW Automotive Holdings airbag that was installed in plaintiffs 2016 Lamborghini Aventador,
            YIN # ZHWUC1ZDOHLA05711.

            Prod. L-2. Each of the defendants knew the product would be purchased and used without inspection for defects.
                         The product was defective when it left the control of each defendant. The product at the time of injury
                         was being
                        I / | used in the manner intended by the defendants.
                        i     I used in the manner that was reasonably foreseeable by defendants as involving a substantial danger not
                                 readily apparent. Adequate warnings of the danger were not given.
            Prod. L-3. Plaintiff was a
                        1/1 purchaser of the product.                             m user of the product.
                        1     1 bystander to the use of the product.              I   I other (specify):

           PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
           Prod. L- 4. I / I Count One—Strict liability of the following defendants who
                             a. 1 / I manufactured or assembled the product (names):
                                                ZF TRW Automotive Holdings Corp.
                                                    I ^ 1 Does _!                   to “0
                                      b. 1... 1 designed and manufactured component parts supplied to the manufacturer (names):



                                                   1    1 Does                     to
                                      c. L-Y-l sold the product to the public (names):
                                               Volkswagen Group

                                              Does 1m                  to 20
           Prod. L-5.       GO Count Two—Negligence of the following defendants who owed a duty to plaintiff (names):
                               ZF TRW Automotive Holdings Corp., and Volkswagen Group
                                               I ^ I Does J,                  to 20
           Prod. L-6.       I—Y. .1 Count Three—Breach of warranty by the following defendants (names):
                                       ZF TRW Automotive Holdings Corp., and Volkswagen Group
                                                     m   i
                                                   Does____________ _ to 20
                                      a. [./ 1 who breached an implied warranty
                                      b. 1x1 1 who breached an express warranty which was
                                                    I / 1 written    L-ZJ oral
           Prod. L-7.       I----- 1 The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                                     I----- 1 listed in Attachment-Prod. L-7 I----- 1 as follows:



                                                                                                                                                     Page 1 of 1
  Form Approved for Optional Use
    Judicial Council of California
                                                    CAUSE OF ACTION—Products Liability                                         Code of Civil Procedure, § 425.12
PLD-PI-001(5) [Rev. January 1,2007)                                                                                                         www.courtinfo.ca.gov




                                                                                                                Exhibit 1 - Page 005
     Case Electronically
           8:20-cv-02182-CJC-DFM            Document
                         Filed by Superior Court          1 Filed
                                                 of California,     11/13/20
                                                                County of Orange,Page  13 of 02:06:10
                                                                                  07/30/2020  33 Page PM.ID #:13
30-2020-01152238-CU-PL-CJC - ROA # 3 - DAVID H. YAMASAKI, Clerk of the Court By Amy Van Arkel, Deputy Clerk.




                                                                        Assigned for all purposes to:


                                                                                                 C12




                                                                                  Exhibit 1 - Page 006
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 14 of 33 Page ID #:14

                                            INSTRUCTIONS ON HOW TO COMPLET                         E THE COVER SHEET                                          CM-010
     To Plaintiffs and Others Filing First Pape
                                                        rs. If you are filing a first paper (for exam
     complete and file, along with your first paper                                                              ple, a complaint) in a civil case, you must
                                                     , the Civil Case Cover Sheet contained on
     statistics about the types and numbers of                                                              page 1. This information will be used to comp
                                                   cases filed. You must complete items 1 throug                                                                      ile
     one box for the case type that best describes                                                              h 6 on the sheet. In item 1, you must check
                                                        the case. If the case fits both a general and
     check the more specific one. If the case has                                                                a more specific type of case listed in item
                                                       multiple causes of action, check the box that                                                                   1,
    To assist you in completing the sheet, exam                                                                  best indicates the primary cause of action
                                                     ples of the cases that belong under each                                                                           .
    sheet must be filed only with your initial paper                                                       case type in item 1 are provided below. A
                                                       . Failure to file a cover sheet with the first                                                            cover
    its counsel, or both to sanctions under rules                                                              paper filed in a civil case may subject a party,
                                                     2.30 and 3.220 of the California Rules of Court.
    To Parties in Rule 3.740 Collections Case
                                                      s. A "collections case" under rule 3.740
    owed in a sum stated to be certain that is                                                               is defined as an action for recovery of mone
                                                 not more than $25,000, exclusive of intere                                                                            y
    which property, services, or money was acqui                                                        st and attorney's fees, arising from a transa
                                                      red on credit. A collections case does not                                                              ction in
    damages, (2) punitive damages, (3) recov                                                                 include an action seeking the following: (1)
                                                     ery of real property, (4) recovery of perso                                                                    tort
    attachment. The identification of a case                                                                    nal property, or (5) a prejudgment writ
                                                as a rule 3.740 collections case on this form                                                                         of
   time-for-service requirements and case mana                                                               means that it will be exempt from the gener
                                                       gement rules, unless a defendant files a                                                                       al
   case will be subject to the requirements for                                                              responsive pleading. A rule 3.740 collec
                                                   service and obtaining a judgment in rule 3.740                                                                 tions
    To Parties in Complex Cases. In comp                                                                      .
                                                 lex cases only, parties must also use the
   case is complex. If a plaintiff believes the                                                          Civil Case Cover Sheet to designate wheth
                                                 case is complex under rule 3.400 of the Califo                                                                 er the
   completing the appropriate boxes in items                                                                  rnia Rules of Court, this must be indicated
                                                  1 and 2. If a plaintiff designates a case as                                                                       by
   complaint on all parties to the action. A                                                            complex, the cover sheet must be served
                                                defendant may file and serve no later than                                                                   with the
   plaintiffs designation, a counter-designation                                                          the time of its first appearance a joinder
                                                    that the case is not complex, or, if the plaint                                                             in the
   the case is complex.                                                                                     iff has made no designation, a designation
                                                                                                                                                                   that
  Auto Tort                                                       CASE TYPES AND EXAMPLES
                                                      Contract                                                     Provisionally Complex Civil Litigation (Cal.
        Auto (22)-Personal Injury/Property
                                                           Breach of Contract/Warranty (06)                        Rules of Court Rules 3.400-3.403)
               Damage/Wrongful Death                             Breach of Rental/Lease
        Uninsured Motorist (46) (if the                                                                                  Antitrust/Trade Regulation (03)
                                                                     Contract (not unlawful detainer                     Construction Defect (10)
              case involves an uninsured                                  or wrongful eviction)
              motorist claim subject to                                                                                  Claims Involving Mass Tort (40)
                                                                 Contract/Warranty Breach-Seller
              arbitration, check this item                                                                               Securities Litigation (28)
                                                                     Plaintiff (not fraud or negligence)                 Environmental/Toxic Tort (30)
              instead of Auto)                                   Negligent Breach of Contract/
  Other PI/PD/WD (Personal Injury/                                                                                       Insurance Coverage Claims
                                                                     Warranty
  Property Damage/Wrongful Death)                                                                                            (arising from provisionally complex
                                                                Other Breach of Contract/Warranty
  Tort                                                     Collections (e.g., money owed, open                               case type listed above) (41)
        Asbestos (04)                                                                                               Enforcement of Judgment
                                                                book accounts) (09)                                      Enforcement of Judgment (20)
             Asbestos Property Damage                           Collection Case-Seller Plaintiff
             Asbestos Personal Injury/                          Other Promissory Note/Collections                            Abstract of Judgment (Out of
                    Wrongful Death                                                                                                 County)
                                                                    Case                                                     Confession of Judgment (non­
        Product Liability (not asbestos or                Insurance Coverage (not provisionally
             toxic/environmental) (24)                          complex) (18)                                                      domestic relations)
        Medical Malpractice (45)                               Auto Subrogation                                              Sister State Judgment
             Medical Malpractice-                              Other Coverage                                                Administrative Agency Award
                    Physicians & Surgeons                                                                                        (not unpaid taxes)
                                                          Other Contract (37)                                                Petition/Certification of Entry of
             Other Professional Health Care
                                                               Contractual Fraud                                                Judgment on Unpaid Taxes
                   Malpractice                                 Other Contract Dispute
       Other PI/PD/WD (23)                                                                                                   Other Enforcement of Judgment
                                                     Real Property                                                                Case
            Premises Liability (e.g., slip                Eminent Domain/Inverse
                   and fall)                                                                                       Miscellaneous Civil Complaint
                                                               Condemnation (14)                                        RICO (27)
            Intentional Bodily Injury/PD/WD               Wrongful Eviction (33)
                   (e.g., assault, vandalism)                                                                           Other Complaint (not specified
            Intentional Infliction of                     Other Real Property (e.g., quiet title) (26)                      above) (42)
                   Emotional Distress                          Writ of Posse   ssion  of Real Proper ty                     Declaratory Relief Only
            Negligent Infliction of                            Mortgage Foreclosure                                         Injunctive Relief Only (non­
                   Emotional Distress                          Quiet Title                                                        harassment)
            Other PI/PD/WD                                     Other Real Property (not eminent                             Mechanics Lien
 Non-PI/PD/WD (Other) Tort                                    domain, landlord/tenant, or                                   Other Commercial Complaint
                                                              foreclosure)                                                       Case (non-tort/non-complex)
       Business Tort/Unfair Business                Unlawful Detainer
          Practice (07)                                                                                                     Other Civil Complaint
                                                         Commercial (31)                                                        (non-tort/non-complex)
      Civil Rights (e.g., discrimination,                                                                         Miscellaneous Civil Petition
          false arrest) (not civil                       Residential (32)
                                                         Drugs (38) (if the case involves illegal                      Partnership and Corporate
           harassment) (08)                                                                                                 Governance (21)
      Defamation (e.g., slander, libel)                       drugs,  check   this item; otherwise,
                                                              report as Commercial or Residential)                    Other Petition (not specified
            (13)                                   Judicial Review                                                         above) (43)
      Fraud (16)                                                                                                           Civil Harassment
                                                         Asset Forfeiture (05)
      Intellectual Property (19)                                                                                           Workplace Violence
                                                         Petition Re: Arbitration Award (11)
      Professional Negligence (25)                                                                                         Elder/Dependent Adult
                                                         Writ of Mandate (02)
          Legal Malpractice                                  Writ-Administrative Mandamus                                       Abuse
          Other Professional Malpractice                     Writ-Mandamus on Limited Court                                Election Contest
               (not medical or legal)                                                                                      Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                                Case Matter
                                                             Writ-Other Limited Court Case                                 Petition for Relief From Late
Employment                                                                                                                      Claim
     Wrongful Termination (36)                                    Review
                                                         Other                                                             Other Civil Petition
      Other Employment (15)                                     Judicia l Review   (39)
                                                             Review of Health Officer Order
                                                             Notice of Appeal-Labor
                                                        ______Commissioner Appeals
CM-010 [Rev. July 1,2007]
                                                            CIVIL CASE COVER SHEET                                                                         Page 2 of 2


                                                                                                                        Exhibit 1 - Page 007
     Case   8:20-cv-02182-CJC-DFM
         Electronically Received by SuperiorDocument    1 Filed
                                            Court of California,   11/13/20
                                                                 County        Page
                                                                        of Orange,     15 of 33
                                                                                   07/30/2020     PagePM.
                                                                                              02:06:10 ID #:15
30-2020-01152238-CU-PL-CJC - ROA # 5 - DAVID H. YAMASAKI, Clerk of the Court By Amy Van Arkel, Deputy Clerk.




                                                     07/30/2020




                                                                               Exhibit 1 - Page 008
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 16 of 33 Page ID #:16


                                                                                                       Case Number:
     Your name: Igor Shabanets

            b. □ The court denies your fee waiver request because:
                        Warning! If you miss the deadline below, the court
                                                                              cannot process your request for hearing or the court
                        you filed with your original request. If the papers were                                                   papers
                                                                                 a notice of appeal, the appeal may be dismissed.
                (1) Your request is incomplete. You have 10 days after
                                                                         the clerk gives notice of this Order (see date of service [J
                    on next page) to:
                           o Pay your fees and costs, or
                           ° File a new revised request that includes the incomplete
                                                                                      items listed:
                             □ Below □ On Attachment 4b(l)




               (2) □ The information you provided on the request show
                                                                     s that you are not eligible for the fee waiver you
                     requested for the reasons stated: □ Below □ On Attac
                                                                               hment 4b(2)




                           The court has enclosed a blank Request for Hearing Abou
                                                                                        t Court Fee Waiver Order (Superior Court)
                           (form FW-006).You have 10 days after the clerk gives notice
                                                                                            of this order (see date of service below) to:
                               ° Pay your fees and costs in full or the amount listed in c
                                                                                           below, or
                               • Ask for a hearing in order to show the court more inform
                                                                                            ation. (Use form FW-006 to request
                                 hearing.)
          c. (1) □ The court needs more information to decide
                                                                whether to grant your request. You must go to court on
                   date on page 3. The hearing will be about the questions                                             the
                                                                           regarding your eligibility that are stated:
                   □ Below □ On Attachment 4c(l)




             (2) D        Bring the items of proof to support your request, if reaso
                                                                                     nably available, that are listed:
                          □ Below □ On Attachment 4c(2)




                                                           This is a Court Order.
Rev. September 1,2019
                                           Order on Court Fee Waiver (Superior Court)                                       FW-003, Page 2 of 3

                                                                                                          Exhibit 1 - Page 009
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 17 of 33 Page ID #:17


                                                                                                  Case Number:
     Your name: Tgor Shabanets


                                                                                   Name and address of court if different from above:
              Hearing       Date:                         Time:
               Date J
                            Dept:                        Room:


             Warning! If item c(1) is checked, and you do not go
                                                                   to court on your hearing date, the judge will deny your
             request to waive court fees, and you will have 10 days
                                                                       to pay your fees. If you miss that deadline, the court
             process the court papers you filed with your request.                                                            cannot
                                                                    If the papers were a notice of appeal, the appeal may
             dismissed.                                                                                                       be



           Date:
                                                           Signature of (check one):     | | Judicial Officer    | | Clerk, Deputy


                                                    Request for Accommodations




  i                     Assistive listening systems, computer-assisted real-time captioning,
                        are available if you ask at least five days before the hearing. Conta
                        Accommodations by Persons With Disabilities and Response (form




                                                          Clerk's Certificate of Service
                                                                                                or sign language interpreter services
                                                                                              ct the clerk’s office for Requestfor
                                                                                               MC-410). (Civ. Code, § 54.8.)




 I certify that I am not involved in this case and (check one):
 □ I handed a copy of this Order to the party and attorney, if any,
                                                                       listed in (T) and (2), at the court, on the date below.
 □ This order was mailed first class, postage paid, to the party
                                                                  and attorney, if any, at the addresses listed in (T) and (2),
     from (city):_____________________                  , California, on the date below.
    □ A certificate of mailing is attached.
        Date:

                                                                      Clerk, by
                                                                                                                             , Deputy
                                                                      Name:




                                                       This is a Court Order.
Rev. September 1,2019
                                         Order on Court Fee Waiver (Superior Court)                                   FW-003, Page 3 of 3

                                                                                                      Exhibit 1 - Page 010
           Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 18 of 33 Page ID #:18
                                        SUPERIOR COURT OF CALIFORNIA
                                                             ORANGE
                                                     700 W. Civic Center DRIVE
                                                       Santa Ana, CA 92702
                                                           (657) 622-6878
                                                         www.occourts.org


                                            NOTICE OF CASE ASSIGNMENT

                                           Case Number: 30-2020-01152238-CU-PL-CJC

Your case has been assigned for all purposes to the judicial officer indicated below. A copy of this information must be
provided with the complaint or petition, and with any cross-complaint that names a new party to the underlying action.

         ASSIGNED JUDGE                             COURT LOCATION                DEPARTMENT/ROOM                 PHONE
Hon. Layne H. Melzer                           CENTRAL JUSTICE CENTER              C12                         (657) 622-6878

Hearing:                                    Date:                                    Time:

                JUDGE                               COURT LOCATION                DEPARTMENT/ROOM                 PHONE
Hon.



[   X   ] ADR Information attached.
                                             SCHEDULING INFORMATION
 Judicial Scheduling Calendar Information
        Individual courtroom information and the items listed below may be found at: www.occourts.org.
        .
        .Case Information, Court Local Rules, filing fees, forms, Civil Department Calendar Scheduling Chart,
        Department phone numbers, Complex Civil E-filing, and Road Map to Civil Filings and Hearings.

 Ex Parte Matters
        Rules for Ex Parte Applications can be found in the California Rules of Court, rules 3.1200 through 3.1207 at:
        www.courtinfo.ca.gov. Trials that are in progress have priority; therefore, you may be required to wait for your
        ex parte hearing.


 Noticed Motions
    * The following local Orange County Superior Court rules are listed for your convenience:
    . - Rule 307 - Telephonic Appearance Litigants - Call CourtCall, LLC at (310) 914-7884 or (888) 88-COURT.
    . - Rule 380 - Fax Filing, Rule 450 - Trial Pre-Conference (Unlimited Civil)
    .* All Complex Litigation cases are subject to mandatory Electronic Filing, unless excused by the Court.
    .* Request to Enter Default and Judgment are strongly encouraged to be filed as a single packet.
 Other Information
    Hearing dates and times can be found on the Civil Department Calendar Scheduling Chart.
    .
    .All fees and papers must be filed in the Clerk's Office of the Court Location address listed above.



 Date: 07/31/2020
                                                                         Amy Van Arkel                         , Deputy Clerk
                                                 NOTICE OF CASE ASSIGNMENT                 Exhibit 1 - Page 011
 V3 INIT 100 (June 2004)
             Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 19 of 33 Page ID #:19
                                                                                                FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 STREET ADDRESS: 700 W. Civic Center DRIVE
 MAILING ADDRESS: 700 W. Civic Center Drive
 CITY AND ZIP CODE: Santa Ana, CA 92701
 BRANCH NAME: Central Justice Center


  SHORT TITLE: Shabanets vs. ZF TRW Automotive Holdings Corp.

                                                                                       CASE NUMBER:
                   NOTICE OF REJECTION OF ELECTRONIC FILING
                                                                                       30-2020-01152238-CU-PL-CJC

        The electronic filing described by the summary data below was reviewed and rejected by the
        Superior Court of California, County of Orange
        E-Filing Summary Data
        Electronically Submitted By:               Igor Shabanets
        On Behalf of:
        Transaction Number:                        2927899
        Court received Date:                       07/31/2020
        Court received Time:                       05:16:30 PM
        Amount not to Exceed:
        Documents Electronically Filed
        Summons

        This electronic filing was rejected based on the following reason(s):
        Reject Reason 1: Other
                         Clerk's comments to submitter:
                         Defendant verbiage, including wording 'to,' must reflect exactly as
                         Complaint. Please update & resubmit. thank you

        E-Filing Service Provider Information
        Name:            OneLegal
        Email:           support@onelegal.com
        Contact Person: Customer Support
        Phone:          8009388815




08/07/2020                                                 E-FILING REJECTION NOTICE                                 Page: 1

                                                                                       Exhibit 1 - Page 012
         Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 20 of 33 Page ID #:20
    -H




                 FW-003                               Order on Court Fee Waiver                    Cleft stamps                     is fi/ed
                                                      (Superior Court)                                  SUPERIOR COURT OF CALIFORNIA
                                                                                                             COUNTY OF ORANGE
        (?) Person who asked the court to waive                                                           CENTRAL JUSTICE CENTER
                                                court fees:
            Name: [gor Shabanets
t                                                                                                                 AUG 0 3 2020
                  Street or mailing address:2 Monarch Cove
                  City:Dana Point                                                                       DAVID H. YAMASAKI. Clerk of the Court
                                                     State: CA               Zip: 92629
       ^2^ Lawyer, if person in (T) has one (name, firm                                                BY:                         ..DEPUTY
                                                            name, address,
       V"“'/ phone number, e-mail, and Stale Bar number):
             Bruce A. Boice, Esq., SBN: 249296, Law Office of Bruc
                                                                   e Boice,                      Fill in court name and street address
             307 E. Chapman Ave, Suite 102, Orange. CA 92866___                                   Superior Court of California, County of
                                                                 ______
             TEL: 949-690-8647                                                                    Orange
                                                                                                  CENTRAL JUSTICE CENTER
                                                                                                  700 CIVIC CENTER DRIVE WEST
                                                                                                  SANTA ANA, CA 92701

                A request to waive court fees was filed on (date):          07/30/2020
                                                                                                                  30-2020
                                                                                                 Fill in case number and name:
                □ The court made a previous fee waiver order in this
                                                                     case           on (date):
                                                                                                 Case
                                                                                                        urn 5 2 2 3 8
                                                                                                 Case Name:
      Read this form carefully. All checked boxes ^ are                                          Shabanets vs ZT TRW Automotive
                                                                          court orders.
       Notice: The court may order you to answer questions
                                                                   about your finances and later order you to pay back the
       fees. If this happens and you do not pay, the court can
                                                                   make you pay the fees and also charge you collection waived
       is a change in your financial circumstances during this                                                                fees. If there
       notify the trial court within five days. (Use form FW-0 case that increases your ability to pay fees and costs, you must
                                                                   10.) If you win your case, the trial court may order the
       to pay the fees. If you settle your civil case for 510,000                                                              other side
       amount of the waived fees. The trial court may not dismor more, the trial court will have a lien on the settlement in the
                                                                     iss the case until the lien is paid._________________
                                                                                                                                 _______
             After reviewing your;            ^ Request to Waive Court Fees
             the court makes the following orders:                                       □    Requ est to Waive Additional Court Fees
             a. ^ The court grants your request, as follows:

                 (1)       Fee Waiver. The court grants your request and waives
                                                                                        your court fees and costs listed below. (Cal.
                           Rules ofCourt, rules 3.55 and 8.818.) You do not have
                                                                                        to pay the court fees for the following:
                      • Filing papers in superior court
                                                                                      • Court fee for phone hearing
                      • Making copies and certifying copies
                                                                                      • Giving notice and certificates
                      • Sheriff’s fee to give notice
                                                                                      • Sending papers to another court department
                     • Reporter’s fee for attendance at hearing or trial, if the
                                                                                 court is not electronically recording the proceeding
                        and you request that the court provide an official repor
                                                                                 ter
                     • Assessment for court investigations under Probate Code
                                                                                     section 1513,1826, or 1851
                     • Preparing, certifying, copying, and sending the clerk
                                                                               ’s transcript on appeal
                     • Holding in trust the deposit for a reporter's transcript
                                                                                on appeal under rule 8.130 or 8.834
                     • Making a transcript or copy of an official electronic
                                                                               recording under rule 8.835
                (2) □ Additional Fee Waiver. The court grants your
                                                                             request and waives your additional superior court fees
                          and costs that are checked below. (Cal Rules of Cour
                                                                                    t, ride 3.56.) You do not have to pay for the
                          checked items.
                          □ Jury fees and expenses                               □ Fees for a peace officer to testify in court
                          □ Fees for court-appointed experts                     □ Court-appointed interpreter fees for a witness
                          □ Other (specify): __________
    Judicial Couret crfCatfamia. tmv courts, ea gov
    Revised September 1,2019, Mandatory Form
    Government Code. $ 63534(e)
                                                        Order on Court Fee Waiver (Superior Court)                        FW-003, Page 1 of 3
    Cal Ridas of Court, rule 3 52




                                                                                                         Exhibit 1 - Page 013
        Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 21 of 33 Page ID #:21

                                                                                                                        30-2020
                                                                                                         Case N
         Your name: Igor Sfaabanets                                                                               0T152238
               b. □ The court denies your fee waiver request because:
                           Warning! If you miss the deadline below, the court
i                                                                               cannot process your request for hearing or the court
                           you filed with your original request If the papers were                                                   papers
                                                                                   a notice of appeal, the appeal may be dismissed
                   (1) Your request is incomplete. You have 10 days after the
                                                                                clerk gives notice of this Order (see date of service □
                       on next page) to:
                              • Pay your fees and costs, or
                              * File a new revised request that includes the incomplete
                                                                                         items listed:
                                O Below □ On Attachment 4b(l)




                   (2) □ The information you provided on the request show
                                                                         s that you are not eligible for the fee waiver you
                         requested for the reasons stated: □ Below □ On Attac
                                                                                   hment 4b(2)




                              The court has enclosed a blank Requestfor Hecning Abou
                                                                                           t Court Fee Waiver Order (Superior Court)
                              (form FW-006).You have 10 days after the clerk gives notice
                                                                                               of this order (see date of service below) to:
                                  * Pay your fees and costs in full or the amount listed in c
                                                                                              below, or
                                  • Ask for a hearing in order to show the court more inform
                                                                                               ation. (Use form FW-0Q6 to request
                                    hearing.)
             c. (1) □ The court needs more information to decide wheth
                                                                         er to grant your request You must go to court on the
                      date on page 3. The hearing will be about the questions regard
                                                                                      ing your eligibility that are stated:
                      □ Below □ On Attachment 4c(l)




                 (2) □       Bring the items of proof to support your request, if reasonably
                                                                                             available, that are listed:
                             □ Below □ On Attachment 4c(2)




                                                             This is a Court Order.
    Rw. September 1,2019
                                              Order on Court Fee Waiver (Superior Court)                                      FW-003, Page 2 of 3


                                                                                                             Exhibit 1 - Page 014
    Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 22 of 33 Page ID #:22

                                                                                                          30-2020
                                                                                                 Case N
    Your name: Igor Shabanets
                                                                                                       ITT1 5 2 2 3 8
                                                                                  Name and address of court if different from above:
             Hearing p Date:                            Time:
              Date
                       J Dept.:                         Room:


            Warning! If item c(1) is checked, and you do not go to court
                                                                           on your hearing date, the judge will deny your
            request to waive court fees, and you will have 10 days to pay
                                                                            your fees If you miss that deadline, the court cannot
            process the court papers you filed with your request. If the papers
                                                                                were a notice of appeal, the appeal may be
            dismissed.


          Date::       ^3^0
                                                          Sign 'ture of(check one):
                                                                                      TP     Judicial Officer   □ Clerk, Deputy

                                                                                              JAMES L. CRANDALL
                                                   Request for Accommodations




  1                    Assistive listening systems, computer-assisted real-time captioning,
                       are available if you ask at least five days before the hearing. Conta
                       Accommodations by Persons With Disabilities and Response (form




                                                         Clerk's Certificate of Service
                                                                                               or sign language interpreter services
                                                                                             ct the clerk’s office for Requestfor
                                                                                              MC-410). (Civ. Code, § 54.8.)




 1 certify that I am not involved in this case and (check one):
 □ 1 handed acopy of this Order to the party and attorney, if any,
                                                                       listed in (T) and (2), at the court, on the date below.
 □ This order was mailed first class, postage paid, to the party and
                                                                        attorney, if any, at the addresses listed in(l)and(2),
         m (city):____________________                  , California, on the date below.
        k A certificate of mailing is attached.
        Date:

                                                                     Clerk, by
                                                                                                                           , Deputy
                                                                     Name:




                                                      This is a Court Order.
Rev September"!,2019
                                        Order on Court Fee Waiver (Superior Court)                                   FW-003, Page 3 of 3


                                                                                                       Exhibit 1 - Page 015
          Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 23 of 33 Page ID #:23
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
   Central Justice Center
   700 W. Civic Center Drive
   Santa Ana, CA 92701

  SHORT TITLE: Shabanets vs. ZF TRW Automotive Holdings Corp.



                                                                                         CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                   30-2020-01152238-CU-PL-CJC


     I certify that I am not a party to this cause. I certify that a true copy of Order on Court Fee Waiver was
     mailed following standard court practices in a sealed envelope with postage fully prepaid, addressed as
     indicated below. The mailing and this certification occurred at Santa Ana, California, on 08/07/2020.




                                         Clerk of the Court, by:                                                       , Deputy



     LAW OFFICE OF BOICE & ASSOCIATES                              IGOR SHABANETS
     307 E CHAPMAN AVENUE # 102                                    2 MONARCH COVE
     ORANGE, CA 92866                                              DANA POINT, CA 92629




                                   CLERK'S CERTIFICATE OF SERVICE BY MAIL




                                                                                                                            Page: 1


V3 1013a (June 2004)
                                                                                    Exhibit 1 - Page         016
                                                                                                Code of Civil Procedure , § CCP1013(a)
          Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 24 of 33 Page ID #:24
                                                                                  FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
CITY AND ZIP CODE: Santa Ana 92701
BRANCH NAME: Central Justice Center
PLANTIFF: Igor Shabanets
                                                                                  Aug 27, 2020
DEFENDANT: ZF TRW Automotive Holdings Corp. et.al.

Short Title: SHABANETS VS. ZF TRW AUTOMOTIVE HOLDINGS CORP.



                                                                         CASE NUMBER:
                                NOTICE OF HEARING                        30-2020-01152238-CU-PL-CJC



  Please take notice that a(n),Jury Trial has been scheduled for hearing on 01/09/2023 at
  09:00:00 AM in Department C12 of this court, located at Central Justice Center.




                                              Clerk of the Court, By:                                    , Deputy



                                                                                                       Page: 1
                                                     NOTICE OF HEARING
                                                                           Exhibit 1 - Page 017
           Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 25 of 33 Page ID #:25

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701

   SHORT TITLE: SHABANETS VS. ZF TRW AUTOMOTIVE HOLDINGS CORP.



                                                                                             CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2020-01152238-CU-PL-CJC

     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 08/27/2020. Following standard court practice the mailing will occur at Sacramento, California on
     08/28/2020.



                                          Clerk of the Court, by:                                                       , Deputy
     LAW OFFICE OF BOICE & ASSOCIATES
     307 E CHAPMAN AVENUE # 102
     ORANGE, CA 92866




                                                                                                                              Page: 2
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)
                                                                                      Exhibit 1 - Code
                                                                                                  Page           018
                                                                                                       of Civil Procedure , § CCP1013(a)
          Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 26 of 33 Page ID #:26
                                                                                  FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
CITY AND ZIP CODE: Santa Ana 92701
BRANCH NAME: Central Justice Center
PLANTIFF: Igor Shabanets
                                                                                  Aug 27, 2020
DEFENDANT: ZF TRW Automotive Holdings Corp. et.al.

Short Title: SHABANETS VS. ZF TRW AUTOMOTIVE HOLDINGS CORP.



                                                                         CASE NUMBER:
                                NOTICE OF HEARING                        30-2020-01152238-CU-PL-CJC



  Please take notice that a(n),Mandatory Settlement Conference has been scheduled for hearing
  on 12/09/2022 at 08:30:00 AM in Department C12 of this court, located at Central Justice
  Center.




                                              Clerk of the Court, By:                                    , Deputy

                                                                                                       Page: 1
                                                     NOTICE OF HEARING
                                                                           Exhibit 1 - Page 019
           Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 27 of 33 Page ID #:27

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
    Central Justice Center
    700 W. Civic Center DRIVE
    Santa Ana 92701

   SHORT TITLE: SHABANETS VS. ZF TRW AUTOMOTIVE HOLDINGS CORP.



                                                                                             CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2020-01152238-CU-PL-CJC

     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 08/27/2020. Following standard court practice the mailing will occur at Sacramento, California on
     08/28/2020.



                                          Clerk of the Court, by:                                                       , Deputy
     LAW OFFICE OF BOICE & ASSOCIATES
     307 E CHAPMAN AVENUE # 102
     ORANGE, CA 92866




                                                                                                                              Page: 2
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)
                                                                                      Exhibit 1 - Code
                                                                                                  Page           020
                                                                                                       of Civil Procedure , § CCP1013(a)
Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 28 of 33 Page ID #:28




                         EXHIBIT 2
CARFAX Vehicle History Report for this 2017 LAMBORGHINI AVENTADOR: ZHWUC1ZD0H... Page 1 of 4
    Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 29 of 33 Page ID #:29
Vivian Powers (C463038)
Los Angeles, CA
Reference Number: Shabanets v. ZF TRW 00.000


                            History-Based Value Report

                              History events affecting this vehicle's
                                              value



                                1-Owner              Service            Personal             Accident
                                Vehicle              History             Vehicle             Reported




                                             $317,140 Retail Value



                                            Vehicle History Report
                                                                                        TM




   2017 LAMBORGHINI AVENTADOR                                      Accident reported
   VIN: ZHWUC1ZD0HLA05711
   COUPE
   6.5L V12 F DOHC 48V
   GASOLINE
                                                                   CARFAX 1-Owner vehicle
   ALL WHEEL DRIVE

                                                                   5 Service history records


                                                                   Personal lease vehicle


                                                                   Last owned in California


                                                                   5,090 Last reported odometer
                                                                         reading


This CARFAX Vehicle History Report is based only on information supplied to CARFAX and available as of 10/29/20 at 4:06:42 PM (CDT).
Other information about this vehicle, including problems, may not have been reported to CARFAX. Use this report as one important tool,
along with a vehicle inspection and test drive, to make a better decision about your next used car.


                            Ownership History                                                                       Owner 1
            The number of owners is estimated
   Year purchased                                                                                                   2018
   Type of owner                                                                                                Personal lease
                                                                                              Exhibit 2 - Page 021
https://www.carfaxbig.com/report/vhr?vin=ZHWUC1ZD0HLA05711&referenceNumber=Shabanet... 10/29/2020
CARFAX Vehicle History Report for this 2017 LAMBORGHINI AVENTADOR: ZHWUC1ZD0H... Page 2 of 4
    Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 30 of 33 Page ID #:30
   Estimated length of ownership                                                                                    1 yr. 11 mo.
   Owned in the following states/provinces                                                                           California
   Estimated miles driven per year                                                                                    2,077/yr
   Last reported odometer reading                                                                                      5,090



                                  Title History                                                                        Owner 1
    CARFAX guarantees the information in this section
                                                                                                                       Guaranteed
   Salvage | Junk | Rebuilt | Fire | Flood | Hail | Lemon                                                              No Problem

                                                                                                                       Guaranteed
   Not Actual Mileage | Exceeds Mechanical Limits                                                                      No Problem

                    GUARANTEED - None of these major title problems were reported by a state Department of Motor
                    Vehicles (DMV). If you find that any of these title problems were reported by a DMV and not included in this
                    report, CARFAX will buy this vehicle back.
                    Register | View Terms




                                  Additional History                                                                   Owner 1
    Not all accidents / issues are reported to CARFAX
   Total Loss                                                                                                      No Issues Reported
   No total loss reported to CARFAX.
   Structural Damage                                                                                               No Issues Reported
   CARFAX recommends that you have this vehicle inspected by a collision repair specialist.
   Airbag Deployment                                                                                               No Issues Reported
   No airbag deployment reported to CARFAX.
   Odometer Check                                                                                                  No Issues Indicated
   No indication of an odometer rollback.
   Accident / Damage
                                                                                                                 Accident Reported
   Accident reported on 07/31/2018.
   Manufacturer Recall
                                                                                                                  Ask Your Dealer
   Check with an authorized Lamborghini dealer for any open recalls.



                                  Detailed History


         Owner 1                                                                                            Personal Lease Vehicle
         Purchased:                          Low mileage! This owner drove less than                                   2,077 mi/yr
         2018                                the industry average of 15,000 miles per
                                             year.


                   Mileage          Source                                      Comments

    12/15/2016               46     British Motor Car Distributors              Vehicle offered for sale
                                    San Francisco, CA
                                    415-776-7700
                                    bmcd.com
                                          4.7 / 5.0
                                    40 Verified Reviews
    12/21/2016                      British Motor Car Distributors              Vehicle serviced
                                    San Francisco, CA                           - Pre-delivery inspection completed
                                    415-776-7700                                - Recommended maintenance performed
                                    bmcd.com                                    - Maintenance inspection completed
                                         4.7 / 5.0
                                    40 Verified Reviews                                         Exhibit 2 - Page 022
https://www.carfaxbig.com/report/vhr?vin=ZHWUC1ZD0HLA05711&referenceNumber=Shabanet... 10/29/2020
CARFAX Vehicle History Report for this 2017 LAMBORGHINI AVENTADOR: ZHWUC1ZD0H... Page 3 of 4
    Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 31 of 33 Page ID #:31
    12/21/2016                  Jaguar Land Rover San Francisco             Vehicle serviced
                                415-776-7700                                - Pre-delivery inspection completed
                                https://landroversanfrancisco.com           - Recommended maintenance performed
                                favorite 354   Customer Favorites           - Maintenance inspection completed

    03/10/2017           56     Los Gatos Luxury Cars                       Vehicle serviced
                                Los Gatos, CA                               - Maintenance inspection completed
                                408-358-7777
                                losgatosluxcars.com
                                      4.7 / 5.0
                                11 Verified Reviews
    03/16/2017                  Los Gatos Luxury Cars                       Vehicle offered for sale
                                Los Gatos, CA
                                408-358-7777
                                losgatosluxcars.com
                                      4.7 / 5.0
                                11 Verified Reviews
    05/16/2017           62     Los Gatos Luxury Cars                       Vehicle serviced
                                Los Gatos, CA
                                408-358-7777
                                losgatosluxcars.com
                                      4.7 / 5.0
                                11 Verified Reviews
    10/25/2017           78     O'Gara Coach Company                        Vehicle offered for sale
                                Beverly Hills, CA
                                888-291-5533
                                ogaracoach.com
    01/24/2018           82     California                                  Odometer reading reported
                                Motor Vehicle Dept.
                                Irvine, CA
    02/14/2018                  California                                  Title issued or updated
                                Motor Vehicle Dept.                         - First owner reported
                                Irvine, CA                                  - Titled or registered as personal lease vehicle
                                                                            - Loan or lien reported
    07/31/2018                  California                                  Accident reported
                                Damage Report

    01/23/2020        4,030     Financial Company                           Vehicle sold




                                                                                 Millions of used vehicles are bought and
                                                                                 sold at auction every year.



    03/07/2020        4,183     SC Motors                                   Vehicle offered for sale
                                Placentia, CA
    07/13/2020        4,185     Auto Auction                                Listed as a dealer vehicle
                                                                            - Vehicle sold
    09/25/2020        5,090     Audi Henderson                              Vehicle serviced
                                Henderson, NV                               - Oil and filter changed
                                702-982-4600
                                audihenderson.com
                                      4.7 / 5.0
                                131 Verified Reviews

                                favorite 2,032   Customer Favorites

   Have Questions? Consumers, please visit our Help Center at www.carfax.com. Dealers or Subscribers, please visit our Help Center
                                                     at www.carfaxonline.com.




                              Glossary                                                       Exhibit 2 - Page 023
https://www.carfaxbig.com/report/vhr?vin=ZHWUC1ZD0HLA05711&referenceNumber=Shabanet... 10/29/2020
CARFAX Vehicle History Report for this 2017 LAMBORGHINI AVENTADOR: ZHWUC1ZD0H... Page 4 of 4
    Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 32 of 33 Page ID #:32

  Accident Indicator
  CARFAX receives information about accidents in all 50 states, the District of Columbia and Canada.
  Not every accident is reported to CARFAX. As details about the accident become available, those additional details are added to the
  CARFAX Vehicle History Report. CARFAX recommends that you have this vehicle inspected by a qualified mechanic.
       • According to the National Safety Council, Injury Facts, 2015 edition, 8% of the 254 million registered vehicles in the U.S.
         were involved in an accident in 2013. Over 74% of these were considered minor or moderate.
       • This CARFAX Vehicle History Report is based only on information supplied to CARFAX and available as of 10/29/20 at
         4:06:42 PM (CDT). Other information about this vehicle, including problems, may not have been reported to CARFAX.
         Use this report as one important tool, along with a vehicle inspection and test drive, to make a better decision about
         your next used car.

  First Owner
  When the first owner(s) obtains a title from a Department of Motor Vehicles as proof of ownership.
  Ownership History
  CARFAX defines an owner as an individual or business that possesses and uses a vehicle. Not all title transactions represent changes
  in ownership. To provide estimated number of owners, CARFAX proprietary technology analyzes all the events in a vehicle history.
  Estimated ownership is available for vehicles manufactured after 1991 and titled solely in the US including Puerto Rico. Dealers
  sometimes opt to take ownership of a vehicle and are required to in the following states: Maine, Massachusetts, New Jersey, Ohio,
  Oklahoma, Pennsylvania and South Dakota. Please consider this as you review a vehicle's estimated ownership history.
  Title Issued
  A state issues a title to provide a vehicle owner with proof of ownership. Each title has a unique number. Each title or registration
  record on a CARFAX report does not necessarily indicate a change in ownership. In Canada, a registration and bill of sale are used as
  proof of ownership.




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10/29/20 4:06:42 PM (CDT)




                                                                                                  Exhibit 2 - Page 024
https://www.carfaxbig.com/report/vhr?vin=ZHWUC1ZD0HLA05711&referenceNumber=Shabanet... 10/29/2020
                                                                                                                                 Case 8:20-cv-02182-CJC-DFM Document 1 Filed 11/13/20 Page 33 of 33 Page ID #:33




                                                                                                                                                             1                                       PROOF OF SERVICE
                                                                                                                                                             2                         Shabanets v. ZF TRW Automotive Holdings Corp.
                                                                                                                                                             3
                                                                                                                                                                 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                                                                                                             4
                                                                                                                                                                      At the time of service, I was over 18 years of age and not a party to this
                                                                                                                                                             5 action. I am employed in the County of Los Angeles, State of California. My
                                                                                                                                                               business address is 355 South Grand Avenue, Fifteenth Floor, Los Angeles, CA
                                                                                                                                                             6 90071-1560.
                                                                                                                                                             7       On November 13, 2020, I served true copies of the following document(s)
                                                                                                                                                               described as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                                                                                                                                                             8 SECTION 1441(b) (DIVERSITY) on the interested parties in this action as
                                                                                                                                                               follows:
                                                                                                                                                             9
                                                                                                                                                               Bruce A. Boice, Esq.                    Attorney for Plaintiff, IGOR
                       355 SOUTH GRAND AVENUE, FIFTEENTH FLOOR




                                                                                                                                                            10 LAW    OFFICE   OF BOICE   &            SHABANETS
                                                                                                                                                               ASSOCIATES
                                                                 LOS ANGELES, CALIFORNIA 90071-1560




                                                                                                                                                            11 307 E. Chapman Ave., Suite 102          T:    (949) 690-8647
                                                                                                                                                               Orange, CA 92866                        F:    (949) 266-8647
YUKEVICH | CAVANAUGH

                                                                                                      Telephone (213) 362-7777




                                                                                                                                                                                                       Email:       bboice@lawyer.com
                                                                                                                                 Facsimile (213) 362-7788




                                                                                                                                                            12
                                                                                                                                                            13
                                                                                                                                                                      BY ELECTRONIC TRANSMISSION: I caused a copy of the document(s)
                                                                                                                                                            14 to be sent from e-mail address svillamarin@yukelaw.com to the persons at the e-
                                                                                                                                                               mail addresses listed in the Service List. Only by e-mailing the document(s) to the
                                                                                                                                                            15 persons at the e-mail address(es) listed based on notice provided on November 13,
                                                                                                                                                               2020 that, during the Coronavirus (Covid-19) pandemic, this office will be working
                                                                                                                                                            16 remotely, not able to send physical mail as usual, and is therefore using only
                                                                                                                                                               electronic mails. No electronic message or other indication that the transmission
                                                                                                                                                            17 was unsuccessful was received within a reasonable time after the transmission.
                                                                                                                                                            18        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
                                                                                                                                                               the document(s) with the Clerk of the Court by using the CM/ECF system.
                                                                                                                                                            19 Participants in the case who are registered CM/ECF users will be served by the
                                                                                                                                                               CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                                                                                                                            20 be served by mail or by other means permitted by the court rules.
                                                                                                                                                            21       I declare under penalty of perjury under the laws of the United States of
                                                                                                                                                               America that the foregoing is true and correct and that I am employed in the office
                                                                                                                                                            22 of a member of the bar of this Court at whose direction the service was made.
                                                                                                                                                            23             Executed on November 13, 2020, at Los Angeles, California.
                                                                                                                                                            24
                                                                                                                                                            25
                                                                                                                                                            26                                                    Sara K. Villamarin

                                                                                                                                                            27
                                                                                                                                                            28
                                                                                                                                                                 2140792.1 / 284-002
                                                                                                                                                                               NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)
